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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION

In re:                                                                 Case No: 17-02469-3G7

         NATASHIA T. SWINDLER

                                Debtors./

          TRUSTEE'S APPLICATION FOR ORDER AUTHORIZING TRUSTEE
          TO EMPLOY GORDON P. JONES AS ATTORNEY FOR THE ESTATE

         The trustee, pursuant to 11 U.S.C. §327(d), applies for an order authorizing the
employment of Gordon P. Jones as attorney for the Estate and would show:
         1.     The trustee desires to employ Mr. Jones to represent and assist the trustee in
carrying out the trustee's duties under the Bankruptcy Code.
         2.     After reviewing the facts and issues in this case, the trustee has determined that
there appear to be assets of this estate available for liquidation and distribution to creditors.
         3.     Mr. Jones shall be responsible for the preparation and filing of all necessary
objections, motions, applications, notices, complaints and other papers required to be filed by an
attorney licensed to practice before this District, and to prepare any proposed orders as may be
required by the Court in accordance with the holding of In re Samuels, 176 B.R. 616, (Bankr.
M.D. Fl. 1994). Pursuant to Reshard v. Britt, 839 F. 2d 1499 (11th Cir. 1988), 28 U.S.C. §1654
and U. S. Bankruptcy Court, Middle District of Florida, Local Rule 1074-1, the Bankruptcy
Estate shall only be heard and represented by counsel.
         4.     Specifically, this case involves objecting to the claim of exemptions; retaining,
preparing, and consulting with expert witness regarding value of debtor’s tangible personal
property; conducting; conducting a Rule 2004 examination of the debtor(s); and any ancillary
matters which may arise.
         5.     The trustee has elected to employ Mr. Jones as attorney for the trustee in this case
because, due to his familiarity with the facts and issues in this case, and the relative complexity
of the case, the trustee believes such employment would be in the best interests of the estate.
         6.     Mr. Jones has the ability and experience to render the necessary assistance, and
his representation of the estate would provide for the most economical and expeditious
administration of this case.
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       7.      Mr. Jones has agreed to seek compensation at his standard hourly rate, which
presently is $275 per hour. However, the amount requested may vary subject to the factors
outlined in Johnson v. Georgia Highway Express, 488 F.2d 714 (5th Cir. 1974).
       8.      Mr. Jones understands and agrees that any fees incurred on behalf of the estate are
subject to the review of the Office of the United States Trustee, and the approval of the Court
pursuant to 11 U.S.C. §330.
       9.      To the best of the trustee's knowledge, Mr. Jones has no connection with the
debtor(s), creditors, any other party in interest, their respective attorneys and accountants, the
United States Trustee, or any person employed in the office of the United States Trustee, which
is adverse to any party herein, and is a "disinterested party" within the meaning of 11 U.S.C.
§101(14).

       Dated: August 23, 2017

                                             /s/ Gordon P. Jones____
                                             Gordon P. Jones
                                             Florida Bar no. 829439
                                             Post Office Box 600459
                                             Jacksonville, FL 32260-0459
                                             (904) 262-7373
                                             Trustee

                              Verified Statement of Proposed Attorney

       I, Gordon P. Jones, declare under penalty of perjury pursuant to the provisions of 28
U.S.C. §1746 that the following statements are true and correct:

      I am an attorney admitted to practice in the State of Florida and in the District Court for
the Middle District of Florida, and am the duly appointed and acting Chapter 7 trustee in this
case.

        Neither I, nor any member of my firm, have any connections with the debtors, creditors,
any other party in interest, their respective attorneys and accountants, the United States Trustee,
or any person employed in the office of the United States Trustee, and am thus disinterested
within the meaning of 11 U.S.C. §101(14).

        Neither I, nor any member of my firm, have any interests adverse to the debtors, the
estate, or any creditor or party in interest.


                                                     /s/ Gordon P. Jones____
                                                     GORDON P. JONES
